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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:
                                                              Chapter 11
 ORION HEALTHCORP, INC. et al.,

                             Debtors.                         Case No. 18-71748 (AST)
 HOWARD M. EHRENBERG, IN HIS
 CAPACITY AS LIQUIDATING TRUSTEE OF
 ORION HEALTHCORP, INC., ET AL.,

                             Plaintiff,                       Adv. Proc. No. 20-08049 (AST)
 v.

 ARVIND WALIA; NIKNIM MANAGEMENT
 INC.,

                             Defendants.

      STIPULATION AND ORDER RE FILING OF FIRST AMENDED COMPLAINT;
                   AND ENTERING OF SCHEDULING ORDER

          Plaintiff, Howard Ehrenberg, in his capacity as Liquidating Trustee of Orion Healthcare,

Inc. (the “Plaintiff”) and Defendants Arvind Walia and NIKNIM Management, Inc. (the

“Defendants”), by and through their undersigned counsel of record (collectively Plaintiff and

Defendants are referred to as the “Parties”), submit the following stipulation for the

consideration by the Court (the “Stipulation”):

          1.     On March 13, 2020, Plaintiff filed the complaint [Dkt. No. 1] against Defendants.

          2.     On June 17, 2020 Defendant filed its Answer to Affirmative Defenses to the

complaint [Dkt. No. 6].

          3.     Pursuant to the October 15, 2020 hearing in this matter, as consented to in the

Stipulation Of Counsel, the parties in the above-captioned adversary proceeding (the “Adversary

Proceeding”), submitted an Amended Discovery Plan to the Adversary Proceeding. The

Amended Discovery Plan was not entered by the Court [Dkt. No. 10].




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        4.       On January 21, 2021, Plaintiff and Defendants appeared at a Pretrial Conference

in Adversary Proceeding. At that time, the Parties discussed the Adversary Proceeding and

advised the Court Plaintiff would amend the Complaint by Stipulation and the parties would

thereafter submit a joint Proposed Scheduling Order for the Court’s consideration to be entered.

Thereafter, Plaintiff circulated a First Amended Complaint. The Parties subsequently met and

conferred regarding an opposition to the amendment. The Parties have meet and conferred and

resolved any issues.

        5.       Attached hereto as Exhibit “1” is the First Amended Complaint For Avoidance

and Recovery of (1) Fraudulent Transfers; (2) Preferential Transfers; (3) Recovery of Avoided

Transfers, and (4) Objection to Claim No. 10067 Pursuant to 11U.S.C. §§502, 544, 547, 548, and

550 (the “First Amended Complaint”), which is deemed served as of the date of the filing of the

Stipulation.

        6.       Defendant has twenty days from service to file an answer to the First Amended

Complaint.

        7.       The Parties hereto agree to the following scheduling order for the expeditious

conducting of discovery in accordance with Fed. R. Civ. P. 16(b) and 26(f).

        8.       Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no

later than fourteen (14) days from the date of this Order, to the extent the disclosures have not

already been made.

        9.       The Parties have met and conferred regarding documents maintained in

electronic format. Plaintiff has identified the issue of the Debtors’ servers, some of which

have been coded into a searchable format while others which would require additional time




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and expenditures. Defendant has identified no potential issue. The parties will cooperate to

facilitate the exchange of relevant evidence stored in any electronic format.

        10.      All fact discovery shall be completed no later than September 20, 2021. The

parties are to conduct discovery in accordance with the Federal Rules of Civil Procedure

("Civil Rules"), Federal Rules of Bankruptcy Procedure ("Bankruptcy Rules") and the Local

Rules of the Bankruptcy Court for the Eastern District of New York ("Local Bankruptcy

Rules"). The parties anticipate discovery on the subject transfers, product and services

rendered, and the surrounding business dealings.

        11.      All expert discovery shall be completed no later than November 30, 2021.

        12.      No later than September 30, 2021: (i) the party bearing the burden of proof on

any issue (including the issue of solvency, to the extent the Defendant intends to challenge the

statutory presumption of insolvency) shall make all disclosures required under Fed. R. Civ. P.

26 (a)(2); and (ii) all rebuttal or responsive expert reports and other disclosures required under

Fed. R. Civ. P. 26 (a)(2) shall be made no later than thirty (30) days thereafter.

        13.      Mediation

        If the parties desire and agree to mediate their dispute(s) at any time during pendency of

this adversary proceeding, they shall jointly file a stipulation (the “Stipulation”) with the Court.

        14.      Motions

        All motions and applications shall be governed by the Civil Rules, Bankruptcy Rules

and Local Bankruptcy Rules, including pre-motion conference requirements. Pursuant to the

authority provided by Fed. R. Civ. P. 16(b)(2), a motion for summary judgment will be

deemed untimely unless a request for a pre-motion conference relating thereto (see Local




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Bankruptcy Rule 7056-1) is made in writing within fourteen (14) days after the close of fact

discovery (see paragraph 3 hereof).

        15.      Trial

        The Court will adjourn the Pre-trial Conference to _____________, 2021, at which

time the Court may set the trial date and deadline to file the Joint Pretrial Order.

        16.      This ORDER may not be modified or the dates herein extended, except by

further Order of this Court for good cause shown. Any application to modify or extend any

deadline established by this Order shall be made in a written application no less than five (5)

days prior to the expiration of the date sought to be extended.

Dated: May 21, 2021                                    Dated: May 21, 2021

PACHULSKI STANG ZIEHL & JONES LLP                      ROSEN & ASSOCIATES, P.C.
Counsel to Plaintiff Howard M. Ehrenberg, in his       Counsel to Defendants, Arvind Walia and
capacity of Liquidating Trustee of Orion               Niknim Management Inc.
Healthcorp, Inc., et al

By: /s/ Jeffrey P. Nolan                               By: /s/ Sanford P. Rosen
   Ilan D. Scharf, Esq.                                   Sanford P. Rosen, Esq.
   Jeffrey P. Nolan, Esq., (Pro Hac Vice)                 Paris Gyparakis, Esq.
   780 Third Avenue, 34th Floor                           747 Third Avenue
   New York, NY 10017                                     New York, NY 10017-2803
   Tel: (212) 561-7700                                    (212) 223-1100
   Email: ischarf@pszjlaw.com

SO ORDERED:




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                               Exhibit 1
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Ilan D. Scharf
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Counsel for the Plaintiff,
Howard M. Ehrenberg in his capacity
as Liquidating Trustee of Orion Healthcorp, Inc., et al.,

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                                 :
    In re:                                                                       :   Chapter 11
                                                                                 :
    ORION HEALTHCORP, INC.1                                                      :   Case No. 18-71748 (AST)
                                                                                 :
                                           Debtors.                              :   (Jointly Administered)
                                                                                 :
                                                                                 :
    HOWARD M. EHRENBERG IN HIS CAPACITY AS                                       :
    LIQUIDATING TRUSTEE OF ORION HEALTHCORP, INC.,                               :   Adv. Pro. No. 20-08049 (AST)
    ET AL.,                                                                      :
                                                                                 :
                                             Plaintiff,                          :
                                                                                 :
    v.                                                                           :
                                                                                 :
    ARVIND WALIA; NIKNIM MANAGEMENT INC.,                                        :
                                                                                 :
                                             Defendants.                         :
                                                                                 :




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748.
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        FIRST AMENDED COMPLAINT FOR AVOIDANCE AND RECOVERY
       OF: (1) FRAUDULENT TRANSFERS; (2) PREFERENTIAL TRANSFERS;
 (3) RECOVERY OF AVOIDED TRANSFERS; (4) OBJECTION TO CLAIM NO. 10067;
                PURSUANT TO 11 U.S.C. §§ 502, 544, 547, 548 AND 550

                 Plaintiff, Howard M. Ehrenberg in his capacity as Liquidating Trustee of Orion

Healthcorp, Inc., et al., (the “Plaintiff” or the Liquidating Trustee”), for the estates of the

above-captioned debtors (the “Debtors”) in the above-captioned cases pending under chapter 11

of title 11 of the United States Code (the “Bankruptcy Code”), by and through its undersigned

counsel, as and for its First Amended Complaint For Avoidance And Recovery Of: (1)

Fraudulent Transfers;(2) Preferential Transfers; (3) Recovery Of Avoided Transfers; And (4)

Objection To Claim No. 1067 Pursuant to 11 U.S.C. §§ 502, 544, 547 548 and 550 (the

“Complaint”) against the above-captioned defendants (collectively, the “Defendant”), alleges as

follows:

                                                THE PARTIES

                 1.          Plaintiff is the Liquidating Trustee under that certain Liquidating Trust

Agreement by and among Orion HealthCorp, Inc., Constellation Healthcare Technologies, Inc.

and certain of their affiliates.

                 2.          Upon information and belief, Defendant Arvind Walia (“Walia”) is an

individual currently residing in the State of New York. Defendant Walia is the former President,

and Chief Executive Officer, of the Debtor Orion Healthcorp, Inc.

                 3.          Upon information and belief, Defendant Niknim Management Inc. is

(“Niknim”) is a corporation formed under the laws of the State of New York with its principle

address at 27 Kettlepond Road, Jericho, New York.

                 4.          Plaintiff is informed and believes and thereon alleges that at all times

mentioned herein there existed a unity of interest in ownership between Defendant, Walia and

Defendant, Niknim such that the individuality and separateness between them ceased and that


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Defendant, Niknim is the alter ego of Defendant, Walia in that, among other things: (a)

Defendant Walia controlled, dominated, managed and operated Defendant Niknim as his alter

ego; (b) Defendant Walia makes all decisions pertaining to Defendant Niknim; (c) there has been

a failure to comply with or observe the formalities of corporate formation and/or operation; (d)

Defendant Niknim was inadequately capitalized; and (e) that the individuality of said entity

should be disregarded pursuant to the doctrine of piercing the corporate veil.

                                                STANDING

                 5.          On March 16, 2018, each of the Debtors except New York Network

Management, LLC (“NYNM”) filed a voluntary petition with the United States Bankruptcy

Court for the Eastern District of New York (the “Bankruptcy Court”)under chapter 11 of the

Bankruptcy Code and NYNM commenced its voluntary petition on July 5, 2018 (collectively,

the “Debtors”). The Debtors’ cases are jointly administered for administrative purposes only

[Docket Nos. 34 and 381].

                 6.          On February 26, 2019, the Honorable Alan S. Trust, United States

Bankruptcy Judge for the Eastern District of New York, entered an order (the “Confirmation

Order”) [Docket No. 701] confirming the Debtors’ Third Amended Joint Plan Of Liquidation

(the “Plan”).

                 7.          The Plan provides, among other things, for the formation of the

Liquidating Trust and the appointment of the Liquidating Trustee on the Effective Date (as that

term is defined in the Plan) to oversee distributions to holders of Allowed Claims and Allowed

Interests and to pursue retained Causes of Action of the Debtors’ Estates. The Effective Date

occurred on March 1, 2019.

                 8.          The Plan provides that the Liquidating Trustee shall have the authority and

responsibility to, among other things, receive, manage, invest, supervise, and protect the

Liquidating Trust Assets, including causes of action.

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                                      JURISDICTION AND VENUE

                 9.          The Bankruptcy Court has jurisdiction over this adversary proceeding

under the Bankruptcy Code pursuant to 28 U.S.C. §§ 157(a) and 1334(a).

                 10.         This proceeding is a core proceeding within the meaning of 28 U.S.C.

§ 157(b) and the Bankruptcy Court may enter final orders for the matters contained herein.

                 11.         Pursuant to Local Bankruptcy Rule 7008-1, the Plaintiff affirms his

consent to the entry of final orders or judgments by the Bankruptcy Court if it is determined that

the Bankruptcy Court, absent consent of the parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution.

                 12.         Venue in this District is proper pursuant to 28 U.S.C. §§ 1408 and

1409(a).

                                   BASIS FOR RELIEF REQUESTED

                 13.         This adversary proceeding is initiated pursuant to Rules 7001(1), (2) and

(9) and 3007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) to avoid

and recover, pursuant to sections 502, 544, 547, 548 and 550 of the Bankruptcy Code and

sections 273, 274, 275 and 276 of the New York Debtor & Creditor Law (the “NY Debt &

Cred L”), made applicable herein pursuant to section 544 of the Bankruptcy Code, certain

avoidable transfers that were made by the Debtors to the Defendant prior to the Petition Date.

                                                   FACTS

                 14.         The Debtors are a consolidated enterprise of several companies aggregated

through a series of acquisitions, which operate the following businesses: (a) outsourced revenue

cycle management for physician practices, (b) physician practice management, (c) group

purchasing services for physician practices, and (d) an independent practice association business,

which is organized and directed by physicians in private practice to negotiate contracts with



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insurance companies on their behalf while such physicians remain independent and which also

provides other services to such physician practices.

                  15.        Parmjit Parmar a/k/a Paul Parmar ("Parmar"), was the former Chief

Executive Officer of the Debtor, Constellation Healthcare Technologies, Inc. ("CHT"), Sotirios

Zaharis, a/k/a Sam Zaharis ("Zaharis"), was the former Chief Financial Officer of CHT, and Ravi

Chivukula (“Chivukula”) was the Controller and Secretary of CHT from approximately 2013 to

2017. Parmar, Zaharis and Chivukula served on the board of directors of CHT. Parmar, Zaharis

and Chivukula, in combination with one another and with others, operating through various

Debtors, moved money and established off-balance sheet accounts to redirect monies of the

Debtors for their own personal use. The Debtor, and the aforementioned associates, utilized a

Wells Fargo IOLA account overseen by the law firm of Robinson, Brog, Leinwand, Greene,

Genovese & Gluck, P.C. (“Robinson Brog”). Upon information and belief, Robinson Brog also

represented Parmar, Zaharis and Chivukula personally in their business, litigation and private

affairs.

                  16.        On or about 2018, Parmar, Zaharis and Chivukula were indicted by the

United States Attorney’s Office, District of New Jersey, for creating fictitious business entities,

balance sheets, doctored bank statements, fabricating customers as well as generating fake

income streams, and sham acquisitions in an effort to divert monies from the Debtors. As

alleged, Parmar, Zaharis and Chivukula diverted funds to enrich themselves, their friends, family

and associates.

                  17.        In or about 2015 and earlier, Defendant Walia was the majority owner,

managing member, and Chief Executive Officer of Portech Corporation, prior to its acquisition

by the Debtors.

                  18.        On or about March 2015, the Debtor, Physicians Practice Plus, LLC, as

represented by Robinson Brog, acquired Portech Corporation from Defendant Walia. Pursuant

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to the asset purchase agreement made and entered into as of March, 2015 (“Asset Purchase

Agreement”), the sum of $12,800,000 was paid, including the right to subsequent payments and

earn-outs over the course of the following years (the “Portech Acquisition”).

                 19.         The Portech Acquisition was orchestrated through the network of entities

arranged by Parmar such that funds could be diverted into off-balance sheet accounts. The

off-balance sheet accounts allowed funds to be transferred (a) to entities controlled by Parmar

and his confederates, or (b) to commingle funds such that monies could be disbursed in a manner

which best allowed Parmar to obfuscate his dealings and continue to maintain an illusion that the

Debtors were solvent.

                 20.         On or about May 1, 2017, the Debtor Orion Healthcorp, Inc. and

Defendant Walia, entered into an employment agreement wherein Defendant Walia would act as

the President and CEO of the Debtor, Orion Healthcorp, Inc. Walia would be paid an annual

salary of $100,000 as paid in accordance with the Debtor’s regular payroll practices.

                 21.         On or about May 1, 2017, the Debtor Orion Healthcorp, Inc. and

Defendant Niknim Management, Inc., as represented by Defendant Walia, as the sole managing

member, entered into a consulting agreement wherein Niknim would be paid a monthly fee by

the Debtors for the prior month’s work as a consultant.

(A)     The Transfers:

                 22.         During the one (1) year period prior to the commencement of the

bankruptcy cases, the Debtors transferred property to or for the benefit of Defendants in an

amount not less than $1,520,000.00, as identified in particular on Exhibit “A” which is

incorporated herein by reference (the “One-Year Transfer”). Defendant Walia was an officer of

the Debtors at all pertinent times therein. During the two (2) year period prior to the

commencement of the bankruptcy cases, the Debtors transferred property to or for the benefit of

Defendants in an amount not less than $2,500,000.00, as identified in particular on Exhibit “A”

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which is incorporated herein by reference (the “Two-Year Transfer”)(collectively, the One-Year

and Two-Year Transfer are referenced as “the Transfers”).

(B)     Amounts Allegedly Owed To Defendant And Defendant’s Proofs Of Claim:

                 23.         On or about July 5, 2018, Defendant Walia filed a claim in the amount of

$61,590.00, which the claims agent designated as claim no. 10067 (the “Filed Claim”), as

attached hereto as Exhibit “B”.

                 24.         Defendant Walia alleges in the Filed Claim that the Debtors failed to

indemnify Walia for employee-related services.

                                FIRST CLAIM FOR RELIEF
          (For Avoidance and Recovery of Intentionally Fraudulent Transfers Under
             11 U.S.C. § 548; NY Debt & Cred L § 276, et al., Against Defendants)

                 25.         Plaintiff repeats and realleges the allegations contained in each preceding

paragraph of the Complaint as though set forth fully herein.

                 26.         The Defendant received the Transfers from the Debtors which were

through various concealed means including the off-balance sheet bank accounts as identified in

particular on Exhibit “A”.

                 27.         The Transfers were made by the Debtors with actual intent to hinder or

delay or defraud their creditors insofar as the Transfers were orchestrated through a scheme to

divert and redirect monies of the Debtors for the personal benefit of Parmar, his friends and

associates, or in a manner to obfuscate the misuse of the Debtor.

                 28.         The Transfers were made to or for the benefit of Defendants.

                 29.         Accordingly, the Transfers are avoidable, and should be avoided, as

intentionally fraudulent transfers pursuant to § 548(a)(1)(A) and NY Debt & Cred L § 276, and

may be recovered from Defendant pursuant to § 548 and the NY Debt & Cred L. Plaintiff is

entitled to an order and judgment under 11 U.S.C. § 544 that the Transfers be avoided.



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                                 SECOND CLAIM FOR RELIEF
                      (To Avoid Constructively Fraudulent Transfers Under
                   11 U.S.C. §§ 544(b) and 548(a)(1)(B) and NY Debt & Cred L
                             §§ 273-275, et seq., Against Defendants)

                 30.         Plaintiff realleges and incorporates by reference each and every allegation

in the above paragraphs, as though fully set forth herein.

                 31.         Plaintiff is informed and believes, and thereon asserts that at all relevant

times, the Debtors: (a) were insolvent, or became insolvent as a result of the Transfers; (b) were

engaged in or was about to engage in a business or a transaction for which their remaining assets

were unreasonably small in relation to the business or transaction; or (c) intended to incur, or

believed or reasonably should have believed that they would incur, debts beyond their ability to

pay as they became due; or (d) made such Transfers to or for the benefit of an insider, under an

employment contract and not in the ordinary course of business.

                 32.         Plaintiff is informed and believes, and thereon asserts, that Defendant did

not give the Debtors, and the Debtors did not otherwise receive, reasonably equivalent value for

obligations incurred for the Transfers. As a result, the Debtors paid and received in value nothing

from Defendant and or less than reasonably equivalent value.

                 33.           At all relevant times, the Transfers were avoidable pursuant to

11 U.S.C. § 548(a)(1)(B) and NY Debt & Cred L. Plaintiff is entitled to an order and judgment

that the Transfers are avoided.

                              THIRD CLAIM FOR RELIEF
              (Avoidance of Preferential Transfers Pursuant To 11 U.S.C. § 547(b)
                                     Against Defendants)

                 34.         Plaintiff realleges and incorporates by reference each and every allegation

in the above paragraphs, as though fully set forth herein.

                 35.         During one-year prior to the petition, Defendant was a creditor and an

insider of one or more of the Debtors.


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                 36.         The One-Year Transfer identified on Exhibit “A” hereto was made to or

for the benefit of Defendant.

                 37.         The Transfer was made for or on account of an antecedent debt or debts

owed by one or more of the Debtors before such Preferential Transfers were made.

                 38.         The Transfer was made during the One-Year Period in which Defendant

Walia was an insider of the Debtor.

                 39.         The Transfer was made while the Debtors were insolvent.

                 40.         The Transfer enabled Defendant to receive more than Defendant would

have received if (i) the Debtors’ chapter 11 cases were instead cases under chapter 7 of the

Bankruptcy Code; (ii) the transfers and/or payments had not been made; and (iii) Defendant

received payment on account of the debt paid by the Preferential Transfers to the extent provided

by the Bankruptcy Code.

                 41.         The Transfer constitutes an avoidable preference pursuant to Bankruptcy

Code section 547(b).

                                  FOURTH CLAIM FOR RELIEF
                       (For Recovery of Property -- 11 U.S.C. § 544(b), §550 and
                               NY Debt & Cred L against Defendants)

                 42.         Plaintiff repeats and realleges the allegations contained in each preceding

paragraph of the Complaint as though set forth fully herein.

                 43.         As the Defendants are the initial, immediate or mediate transferees of the

Transfer, Plaintiff may recover for the benefit of the estate the property transferred or the value

of such property from (a) the initial transferee of such transfer or the entity for whose benefit

such transfer was made or (b) any immediate or mediate transferee of such initial transferee

pursuant to pursuant to 11 U.S.C. § 550(a)

                 44.         As alleged above, Plaintiff is entitled to avoid the Transfers under

11 U.S.C. §§ 542, 547 and 548. As Defendants are the initial, immediate or mediate transferee

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of the Transfers, Plaintiff is entitled to receive for the Estate the proceeds or value of the

Transfers under 11 U.S.C. § 550 of the Bankruptcy Code and NY Debt & Cred L.

                                      FIFTH CLAIM FOR RELIEF
                              (Objection to Claims against Defendant Walia)

                 45.         Plaintiff repeats and realleges the allegations contained in each preceding

paragraph of the Complaint as though set forth fully herein.

                 46.         After a thorough review of the Debtors’ Books and Records and Claim

No. 10067, the Plaintiff has determined that Claim No. 10067 does not comply with the

Bankruptcy Rules, is without evidentiary support, and is contradicted by the Debtors’ books and

records.

                 47.         As alleged above, each Preferential or Fraudulent Transfer constitutes an

avoidable transfer pursuant to 11 U.S.C. § 547 and/or 548 of the Bankruptcy Code, which is

recoverable pursuant to Bankruptcy Code section 550.

                 48.         As a result of the above, Plaintiff moves to strike the Claim or

alternatively, pursuant to Bankruptcy Code section 502(d), Claim No. 10067 must be disallowed

unless and until Defendant pays to the Plaintiff an amount equal to each preferential or

fraudulent Transfer that is avoided including pre- and post-judgment interest on the avoided

amount.

                 49.              As a result of the above, Plaintiff moves to strike the Claim.

                 WHEREFORE, Plaintiff prays for judgment as follows:

                             a.       For a determination that the Transfers are an avoidable fraudulent

transfer under 11 U.S.C. §§ 544, and 548, of the Bankruptcy Code and Section 273-276 of NY

Debt & Cred L, et seq, as applicable, and that the Plaintiff is entitled to recover the Transfers

under 11 U.S.C. § 550 of the Bankruptcy Code;




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                             b.   For a determination that the One-Year Transfers are avoidable

transfers under 11 U.S.C. §§ 544 and 547, as applicable, and that the Plaintiff is entitled to

recover the One-Year Transfers under 11 U.S.C. §§ 550 & 551 of the Bankruptcy Code;

                             c.   On its Claim for Objection to the Filed Claim, that the Defendant

recover nothing by way of the Filed Claim;

                             d.   Awarding to the Plaintiff the costs of suit incurred herein,

including pre- and post-judgment interest; and

                             e.   For such other and further relief as the Court may deem just and

proper.


Dated: New York, New York
       May 20, 2021


                                                    /s/ Ilan D. Scharf________________________
                                                  Ilan D. Scharf, Esquire
                                                  Jeffrey P. Nolan, Esquire
                                                  PACHULSKI STANG ZIEHL & JONES LLP
                                                  780 Third Avenue, 36th Floor
                                                  New York, New York 10017
                                                  Telephone:      (212) 561-7700
                                                  Facsimile:      (212) 561-7777

                                                  Counsel for the Plaintiff,
                                                  Howard M. Ehrenberg in his capacity
                                                  as Liquidating Trustee of Orion Healthcorp, Inc.,
                                                  et al.,




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  EXHIBIT A
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                                                                EXHIBIT A




                                                     Niknim Management, Inc.; Walia



       Posted Date   Doc. Dt.             Location Name                Segment Name        Segment   Curr           Txn Amt.           Credit (USD)
        1/31/2017    1/31/2017         Orion Healthcorp. Inc.               Corporate       Corp.    USD    $         600,000.00 $          600,000.00
        2/28/2017    2/28/2017         Orion Healthcorp. Inc.               Corporate       Corp.    USD    $         600,000.00 $          600,000.00
        3/31/2017                      Orion Healthcorp. Inc.               Corporate       Corp.    USD    $         600,000.00 $          600,000.00
        4/28/2017    4/28/2017        Orion Healthcorp. Inc.                Corporate       Corp.    USD    $         600,000.00 $         600,000.00
        6/23/2017    6/23/2017     Constellation Health Care, Inc.          Corporate       Corp.    USD    $       1,500,000.00 $       1,500,000.00
        6/28/2017    6/28/2017     Constellation Health Care, Inc.          Corporate       Corp.    USD    $          20,000.00   $        20,000.00

        5/31/2017    5/31/2017         Orion Healthcorp. Inc.               Corporate       Corp.    USD    $       1,000,000.00   $     1,000,000.00
        6/30/2017    6/30/2017         Orion Healthcorp. Inc.               Corporate       Corp.    USD    $       1,100,000.00   $     1,100,000.00
                                                                                                            Total                  $     6,020,000.00




Doc No. 336243
